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             EXHIBIT 1
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Summary Of All Legal Matters Currently Being Litigated By The Receivers Agent Mr.
         Guo On Behalf Of The Receiver For Link Motion Inc. In China
 1) Cases Filed by or Entered Into by the Wholly Foreign-Owned Enterprise (“WFOE”) to
    Carry Out the Duties of the Receivership and Safeguard Company Assets
 •   Arbitration with China International Economic and Trade Arbitration Commission
     (CIETAC) filed on October 12, 2018, prior to the appointment of the Receiver.
        o Mr. Guo entered the arbitration on behalf of the WFOE as the plaintiff in this action
            and Ms. Guo Lingyun was the defendant. The arbitration was in regards to a
            dispute over the equity of the Chinese subsidiaries of Link Motion Inc.
            (“LKM” or the “Company”). Mr. Guo and the WFOE received a favorable
            award on October 16, 2019.
        o Case number DS20181332.
 •   Arbitration with CIETAC filed on November 12, 2019.
        o The plaintiff is the WFOE entity and the defendant is Shi Wenyong. On
            December 28, 2020, the Beijing Fourth Intermediate People's Court issued civil
            ruling 2020JING04MIN TE402 which dismissed Shi Wenyong’s claims. The
            arbitral tribunal has completed the hearing process and a ruling in this arbitration is
            due to be issued on June 4, 2021.
        o Case number DS20192260.
 •   Lawsuit in Beijing Haidian People’s Court filed in October, 2019.
        o The plaintiff is the WFOE and the defendant is Xu Zemin. Mr. Guo and the
            WFOE brought this lawsuit to attempt to recoup Company losses due to the
            mismanagement of LKM by Xu Zemin. Xu Zemin attempted to have the
            jurisdiction changed but was unsuccessful. This case is still active.
        o Civil ruling number 2020 JING 0108 MIN CHU 329NQ.
 •   Lawsuit in Beijing Haidian People’s Court filed on November 1, 2019.
        o The plaintiff is the WFOE and the defendant is Xu Zemin. Mr. Guo and the
            WFOE brought this lawsuit to attempt to obtain Company property of the WFOE.
            This includes the Company seals, business license, and financial
            documents misappropriated by Shi Wenyong and Xu Zemin after properly
            changing the legal representative of the WFOE to Mr. Guo. This case is active.
        o Civil ruling number 2020 JING 0108MIN CHU 8234NQ.
 •   Lawsuit in Beijing Haidian People’s Court filed in 2019.
        o The plaintiff is the WFOE and defendant is Xu Zemin. Mr. Guo and the WFOE
            brought this lawsuit in order to attempt to obtain the Company property of the
            WFOE including the Company seals, business license and financial documents
            after properly changing the legal representative of BEIJING NQ TECHNOLOGY
            CO. LTD from Xu Zemin to Mr. Guo. This case is active.
        o Civil ruling number 2020JING 0108MIN CHU 9418.
 •   Lawsuit in Xinjiang Kashgar Court filed on November 4, 2019.
        o The plaintiff is Xinjiang NQ Mobile Venture Capital Co., Ltd. (a wholly owned
            subsidiary of the WFOE) and the defendant is Xu Zemin. Xinjiang NQ brought
            this lawsuit to obtain the Company property including the Company seals, business
            license, and financial documents. This case is active.
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       o Civil number 2019KA MIN CHU 11-2.
•   Lawsuit filed in Beijing Haidian District People's Court on September 2, 2020.
       o The plaintiff is the WFOE and the defendant is Shi Wenyong. This lawsuit
          concerns the WFOE’s application for state compensation to recover value from
          bank account funds stolen from the Company by Shi Wenyong. This application
          is based on the error that the Chinese court made in allowing Shi Wenyong and his
          cohorts to remove more than USD$90 million from the LKM bank accounts inside
          China while the Receiver was in place. After not getting a response on the
          application from the Haidian court, the WFOE filed its application with the First
          Intermediate People's Court on December 3, 2020, and obtained a written decision
          on December 24, 2020. The Intermediate court ruled that the WFOE should first
          exhaust all other civil means before applying for state compensation. The WFOE
          then appealed this decision on January 18, 2021 to the Beijing Higher People's
          Court State Compensation Commission.
       o Case numbers 2020JING01 WEI PEI 4; 2021Jing Wei Pei Jian7.
•   Lawsuit filed in Beijing Third Intermediate People's Court on March 2, 2020.
       o The plaintiff is the WFOE and the defendant is China Merchants Bank (CMB)
          Beijing Worker Stadium Sub-branch. After completing the change of legal
          representative, the WFOE repeatedly alerted CMB not to allow anyone to transfer
          funds from the Company's accounts. However, LKM funds were removed by Shi
          Wenyong and Xu Zemin. Thus, the WFOE is seeking to hold CMB liable.
       o Case number 2021 Jing03Min Chu524.

2) Cases Filed by Shi Wenyong or Xu Zemin Against the WFOE Confronting the Validity of
   the Receivership:

•   Lawsuit in Beijing Haidian People’s Court filed on May 27, 2019.
        o The plaintiff is Xu Zemin and the defendant is the WFOE.
        o Xu Zemin applied for a behavior preservation order concerning LKM’s bank
            accounts in China. This order prevented the Receiver from properly safeguarding
            Company assets. The Court issued the behavior preservation order but rejected
            all claims filed by Xu Zemin.
        o Civil judgment numbers 2019 JING 0108 MIN CHU 35030; 2019 JING 01MIN
            ZHONG 10118.
•   Lawsuit in Beijing Haidian People’s Court and Beijing No. 1 Intermediate People’s Court
    filed on July 23, 2019.
        o The plaintiff is Xu Zemin and the defendant is Beijing Haidian Market Supervision
            Administration Bureau. The WFOE is a third party in the proceedings. This
            case was an administrative proceeding filed by Xu Zemin against Beijing Haidian
            Market Supervision Administration Bureau to overturn the Beijing Haidian Market
            Supervision Administration Bureau’s legal approval of the change of the legal
            representative of the WFOE. The court rejected Plaintiff's claims in the First
            Instance. The judgment was issued on April 1, 2020, and BEIJING NO.1


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          INTERMEDIATE COURT dismissed Plaintiff’s claims in the Second Instance.
          The judgment was issued on July 24, 2020.
       o Civil judgment numbers 2019 JING 0108 XING CHU 812; 2020 JING 01 XING
          ZHONG 425.
•   Lawsuit in Beijing Haidian People’s Court filed on July 29, 2019.
       o The plaintiff is Shi Wenyong and the defendant is Beijing NQ Technology Co. Ltd.
          Mr. Guo legally took control of the WFOE, and this case was filed by Shi Wenyong
          in an attempt to refute a resolution of Beijing NQ Technology Co. Ltd. provisional
          shareholders' in accordance with the Variable Interest Entity agreements. Shi
          Wenyong submitted forged evidence during the course of this action. The Court
          rejected Shi Wenyong’s claims and issued rulings on July 30, 2020 and October 27,
          2020.
       o Civil judgment numbers 2019 0108 MIN CHU 56920; 2020JING 01 MIN ZHONG
          7149.
•   Lawsuit in Beijing Haidian People’s Court filed on February 12, 2020.
       o The plaintiff is Beijing Wanpu Century Technology Limited and the defendant is
          the WFOE. This lawsuit pertains to a lending dispute. There was a judgment in
          the first instance in favor of the Plaintiff on October 26, 2020.
       o Civil judgment number 2020JING 0108MIN CHU7290.

3) Cases Filed by Business Partners and Former Staff of LKM Against the Company Due to
   Business and Labor Disputes Which Arose From Shi Wenyong’s and Xu Zemin’s Transfer
   of the Company Funds When Xu Zemin and Shi Wenyong Were Leading the WFOE Entity
   and LKM Within China

•   Lawsuit in Beijing Haidian People’s Court filed on July 9, 2019.
       o The plaintiff is China Peace International Tourism Limited and the defendant is the
          WFOE. This lawsuit is a legacy service fee dispute which arose from when Shi
          Wenyong and Xu Zemin controlled the WFOE. There was a judgment in favor of
          the Plaintiff on July 30, 2020, and the case is in the enforcement phase.
       o Civil judgment number 2019JING 0108MIN CHU 54790.
•   Lawsuit in Beijing Dongcheng People’s Court filed on October 22, 2019.
       o The plaintiff is Beijing Bolonghang Property Management Co., Ltd and the WFOE
          is the defendant. This lawsuit is a legacy service contract dispute from when Shi
          Wenyong and Xu Zemin controlled the WFOE. There was a judgment in favor of
          the Plaintiff on August 25, 2020, and the case is in the enforcement phase.
       o Civil judgment number 2020 JING 0101 MIN CHU 700
•   Lawsuit in Beijing Haidian People’s Court on August 16, 2019.
       o The Plaintiff is Huang Xiaoqian, a former WFOE employee and the defendant is
          the WFOE. This lawsuit pertains to one of the labor disputes resulting from Shi
          Wenyong refusing to pay WFOE staff wages beginning in 2018. There have been
          as many as 40 similar cases.
       o First instance civil judgment number 2019 JING 0108 MIN CHU 47080; Final
          instance civil judgment number 2020 JING 01 MIN ZHONG 2014.

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4) Criminal Actions
• Criminal case filed with Beijing Police on January 22, 2020. The informant is LKM
   director Ms. Guo Lingyun, later joined by the WFOE. The criminal suspects are Shi
   Wenyong and Xu Zemin. After a preliminary investigation, the police determined that the
   facts had been established and the Beijing Police have officially opened an active
   investigation.




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